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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 STEPHEN M. GRUVER, ET AL.                                               CIVIL ACTION
 v.
 STATE OF LOUISIANA THROUGH THE                           NO. 3:18-cv-00772-SDD-EWD
 BOARD OF SUPERVISORS OF LOUISIANA
 STATE UNIVERSITY AND AGRICULTURAL
 AND MECHANICAL COLLEGE, ET AL.

                                           ORDER

       Considering the Joint Motion to Voluntarily Dismiss Claims against Haider Laghari with

Prejudice filed jointly by Plaintiffs Stephen M. Gruver and Rae Ann Gruver, individually and on

behalf of Maxwell R. Gruver, deceased, and Defendant Haider Laghari;

       IT IS HEREBY ORDERED that the Joint Motion is GRANTED, and Plaintiffs’ claims

against Defendant Laghari in the above-captioned matter are dismissed, with prejudice, and with

each party to bear its own costs; and

       IT IS FURTHER ORDERED that this Order applies only to Plaintiffs’ claims against

Haider Laghari. Plaintiffs’ claims remain active and pending against all other Defendants with

whom Plaintiffs have not settled.

       Baton Rouge, Louisiana this _________
                                     12th    day of __________________________,
                                                           April                2021.



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                       _________________________________________
                             CHIEF JUDGE SHELLY D. DICK
                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA
